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FoR THE WESTERN DISTRICT oF TENNEssE

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UNITED STA'I`ES OF AMERICA,

Plaintiff,
VS. No. 02-20333 ‘/
ToRRICK LYLES, 03 ' g 0 484
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Det`endant to continue the sentencing hearing
set on August 17, 2005 at 1:30 p.rn. For good cause shown, the Court hereby grants the
Defendant’s motion. The sentencing is hereby reset for the g 3 CL day of § §QZEQ,_{E z 1 ,

2005 at f ijQ a.m./p.m.

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IT Is so oRDERED this f L, day OfAuguSt, 2005.

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UNIEL BREEN
UNI ED STATES DISTRICT JUDGE

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Honorable J. Breen
US DISTRICT COURT

